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EXHIBIT A
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ATTORNEYS FOR PLAINTIFF

THE HONORABLE RICHARD A JONES

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION

TAYLOR SHELLFISH COMPANY, INC.,
Defendant.

 

 

 

 

CIVIL ACTION NO. 16-01517 RAJ

DEFENDANT’S FIRST DISCOVERY
REQUESTS TO PLAINTIFF EEOC AND
PLAINTIFF EEOC RESPONSES THERETO

Plaintiff Equal Employment Opportunity Commission (“EEOC”) provides the following

response to “Defendant‘s First Discovery Requests to Plaintiff EEOC” as follows, which also

supplement the EEOC’s initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1):

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EEOC’S RESP TO 15" DSC REQ- Page 1 of 27

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GENERAL OBJECTIONS

1. Plaintiff EEOC objects to Defendant First Discovery Requests to EEOC to the
extent that they seek information that is privileged from disclosure by the Attorney-Client
Privilege and/or by the Attorney Work Product Doctrine.

2. Plaintiff EEOC further objects to this discovery to the extent that it seeks
information that is protected from disclosure by the Governmental Deliberative Process
privilege.

3. Plaintiff EEOC further objects to this discovery to the extent that it seeks
information that is protected from disclosure by the Therapist-Patient privilege and other privacy
protections.

4, Plaintiff EEOC also objects to this discovery to the extent that it seeks
information gathered during the conciliation process which may not be disclosed pursuant to
Section 706(b) of Title VII, 42 U.S.C § 2000e-5(b).

5. Plaintiff EEOC also objects to this discovery on the ground that it is repetitive and
duplicative to the extent that it seeks information that has already been disclosed through
Plaintiff EEOC’s initial disclosures which were provided to Defendant pursuant to Fed. R. Civ.
P. 26(a)(1).

6. Plaintiff EEOC provides these responses based upon its present knowledge,
information and belief, and after a reasonable inquiry. However, discovery is ongoing and

EEOC hereby acknowledges its duty and reserves its right to amend, correct or supplement these

responses.
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EEOC’S RESP TO 1" DSC REQ- Page 2 of 27 EQUAL EMPLOYMENT

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could require the EEOC to reveal information that was created during conciliation and/or is
deliberative. Notwithstanding these objections, EEOC directs Defendant to EEOC’s and

Defendant’s initial disclosures.

INTERROGATORY NO. 18:

Identify all medical providers or counselors who have provided evaluation, treatment or
care to Claimant since January |, 2007. For each provider identified state the approximate dates
of treatment, the nature of the condition necessitating treatment, and specifically state whether
the treatment was related to any injuries or damages claimed in this lawsuit.

RESPONSE:

EEOC objects that this discovery request is overbroad and unduly burdensome, and on
the basis of relevance because it seeks information about Mr. Daniels’ medical history for the
past ten years and because there is no limitation on the scope of this request. For example, this
discovery request seeks information and documents about any physical condition no matter how
trivial or transitory. EEOC also objects to this invasive discovery request about any “medical
doctor, psychologist, psychiatrist, professional counselor, therapist, and/or other health care
provider who has provided treatment, counseling, therapy, assessment, rehabilitation or other
health-related services” to Mr. Daniels for the past ten years to the extent it seeks information
about any physical or mental impairment that Mr. Daniels might have. In addition to the
foregoing, EEOC further objects to this interrogatory to the extent that it seeks information about
any “psychologist, psychiatrist, professional counselor, therapist, and/or other health care
provider who has provided treatment, counseling, therapy” to Mr. Daniels for the past ten years
because such information about the “condition” and “nature of the Health Services provided to
him” is protected from disclosure by the Therapist-Patient privilege. Jaffee v. Redmond, 518

U.S. 1 (1996).

EEOC’'S RESP TO 15" DSC REQ- Page 20 of 27 EQUAL EMPLOYMENT
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EEOC further objects on the grounds that the request is unreasonably broad and unduly
burdensome because the EEOC brings a “garden variety” emotional distress claim for Mr. Holt.
Again, mental health records, to the extent they exist, are protected by the Therapist-Patient
privilege. The Supreme Court’s ruling in Jaffee v. Redmond, 518 U.S. 1 (1996), and its progeny,
have established that a patient’s statements to his psychologist or mental health service provider
are privileged, and unless a plaintiff's mental state is placed into issue, this privilege is not
waived. Courts in the Ninth Circuit have held that merely alleging “garden variety” emotional
distress, without more, does not place one’s mental state at issue. See Fritsch v. City of Chula
Vista, 1987 F.R.D. 614 (S.D. Cal. 1999). See also Cesar v. Mountanos, 542 F.2d 1064, 1067
(9th Cir. 1976)(emphasizing the importance of protecting confidentiality between
psychotherapist and patients).

EEOC also objects to this interrogatory on the grounds that the request is unreasonably
broad and unduly burdensome because many trial courts in the Ninth Circuit have recognized the
strong privacy and confidentiality interests an individual has in his/her medical history when the
individual has not put his/her entire medical history at issue in a discrimination case, i.e., by not
claiming a specific bodily injury. See Sims v. Lakeside Sch., 2007 WL 5417731 (W.D. Wa. Mar.
15, 2007); see also EEOC v. Serramonte, 237 F.R.D. 220 (N.D. Cal. Mar. 22, 2006). Finally, the

EEOC notes that discovery is ongoing. The EEOC may supplement this answer as appropriate.

REQUEST FOR PRODUCTION NO.12:

Please produce all medical records, including mental health and psychotherapy records,
for every heath care provider (including social workers, psychiatrists, psychologists, therapists,
and other medical professionals) who has treated the Claimant for injuries or harm allegedly

resulting from incidents referred to in the Complaint.

EEOC’S RESP TO 15° DSC REQ- Page 21 of 27 EQUAL EMPLOYMENT
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RESPONSE:

EEOC objects that this discovery request is overbroad and unduly burdensome, and on
the basis of relevance because it seeks information about Mr. Daniels’ medical history for the
past ten years and because there is no limitation on the scope of this request. For example, this
discovery request seeks information and documents about any physical condition no matter how
trivial or transitory. EEOC also objects to this invasive discovery request about any “medical
doctor, psychologist, psychiatrist, professional counselor, therapist, and/or other health care
provider who has provided treatment, counseling, therapy, assessment, rehabilitation or other
health-related services” to Mr. Daniels for the past ten years to the extent it seeks information
about any physical or mental impairment that Mr. Daniels might have. In addition to the
foregoing, EEOC further objects to this interrogatory to the extent that it seeks information about
any “psychologist, psychiatrist, professional counselor, therapist, and/or other health care
provider who has provided treatment, counseling, therapy” to Mr. Daniels for the past ten years
because such information about the “condition” and “nature of the Health Services provided to
him” is protected from disclosure by the Therapist-Patient privilege. Jaffee v. Redmond, 518
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EEOC further objects on the grounds that the request is unreasonably broad and unduly
burdensome because the EEOC brings a “garden variety” emotional distress claim for Mr. Holt.
Again, mental health records, to the extent they exist, are protected by the Therapist-Patient
privilege. The Supreme Court’s ruling in Jaffee v. Redmond, 518 U.S. | (1996), and its progeny,
have established that a patient’s statements to his psychologist or mental health service provider
are privileged, and unless a plaintiffs mental state is placed into issue, this privilege is not
waived. Courts in the Ninth Circuit have held that merely alleging “garden variety” emotional
distress, without more, does not place one’s mental state at issue. See Fritsch v. City of Chula

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(9th Cir. 1976)(emphasizing the importance of protecting confidentiality between
psychotherapist and patients).

EEOC also objects to this interrogatory on the grounds that the request is unreasonably
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strong privacy and confidentiality interests an individual has in his/her medical history when the
individual has not put his/her entire medical history at issue in a discrimination case, i.e., by not
claiming a specific bodily injury. See Sims v. Lakeside Sch., 2007 WL 5417731 (W.D. Wa. Mar.
15, 2007); see also EEOC v. Serramonte, 237 F.R.D. 220 (N.D. Cal. Mar. 22, 2006). Finally, the

EEOC notes that discovery is ongoing. The EEOC may supplement this answer as appropriate.

INTERROGATORY NO. 19:

Does Claimant contend he has lost any income, wages, retirement or other benefits or
other benefits, past, present or future, based on any incidents referred to in your Complaint,? If
so, please state the amount of any such lost income, wages, retirement, or other benefit; and the
dates or time period applicable to such income, wages, retirement or other benefit or emolument.

RESPONSE:

Mr. Daniels was out of work for approximately three months. Plaintiff EEOC claims lost
wages during this period. After leaving Taylor, Mr. Daniels began his employment with the
Naval Hospital in Oak Harbor on May 19, 2014. When Mr. Daniels left Taylor he was making
$15.50 per hour and was working 40 hours per week. EEOC estimates that Mr. Daniels lost
$7,985.85 in lost wages. In addition, Mr. Daniels lost his 401K with Taylor and had to cash this
out. Asa result of his constructive discharge from Taylor his credit score went down. Finally,
the EEOC notes that discovery is ongoing. The EEOC may supplement this answer as

appropriate.

EEOC’S RESP TO 157 DSC REQ- Page 23 of 27 EQUAL EMPLOVMENT
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DATED this 4th day of May, 2017.

ROBERTA L.STEELE P. DAVID LOPEZ
Regional Attorney General Counsel

JOHN F. STANLEY JAMES L. LEE
Supervisory Trial Attorney Deputy General Counsel
TERI L. HEALY GWENDOLYN Y. REAMS
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Attorneys for Plaintiff EEOC

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CERTIFICATE OF SERVICE

I am, and was at the time the herein service took place, a citizen of the United States,
over the age of eighteen (18) years and not a party to the above-entitled cause.

I am employed in the Legal Unit of the San Francisco District Office of the United States
Equal Employment Opportunity Commission.

My business address is U.S. Equal Employment Opportunity Commission, San Francisco
District Office, Phillip Burton Federal Building, 450 Golden Gate Ave., 5" Floor West, P.O.
Box 36025, San Francisco, CA 94102.

On the date that this declaration was executed, as shown below, | personally served the

following document(s):

DEFENDANT’S FIRST DISCOVERY REQUESTS TO PLAINTIFF EEOC AND
PLAINTIFF EEOC RESPONSES THERETO

by via email, to the following person(s):

Stephanie Bloomfield, WSBA No. 24251
Gordon Thomas Honeywell LLP

1201 Pacific Avenue, Suite 2100
Tacoma, Washington 98402
sbloomfield@gth-law.com

Attorney for Defendant Taylor Shellfish Co., Inc.

I declare under penalty of perjury that the foregoing is true and correct. Executed on

May 4, 2017, at Phoenix, Arizona.

CW Carau,

Colleen D. McCatiney

EEOC’S RESP TO 1°" DSC REQ- Page 27 of 27 EQUAL EMPLOYMENT
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